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 2
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 3   Sacramento, CA 95814

 4   Attorney for Deleisha Gilbert
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 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                 ) Case No.: 2:03-cr-00371-MCE
                                               )
12
                 Plaintiff,                    ) STIPULATION AND ORDER:
                                               ) EXCLUSION OF TIME
13                                             )
           v.
                                               )
14                                             )
     DELEISHA GILBERT,
                                               )
15                                             )
                 Defendants.
                                               )
16

17
           IT IS HEREBY STIPULATED by and between the parties hereto
18
     through their respective counsel, William S. Wong, Assistant
19
     United States Attorney, attorney for Plaintiff and Kresta Daly,
20
     attorney for Deleisha Gilbert, that the previously scheduled
21
     trial confirmation hearing date of September 6, 2007, be vacated
22
     and the matter set for trial confirmation on September 13, 2007,
23
     at 9:00 a.m.
24
     ///
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     ///
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     ///
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     ///


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           Case 2:03-cr-00371-JAM-EFB Document 663 Filed 09/17/07 Page 2 of 2


 1         This continuance is requested due to the unavailability of
 2   defense counsel on September 6, 2007.         Accordingly, all counsel
 3   and the defendant agree that time under the Speedy Trial Act
 4   from the date this stipulation is lodged, through September 13,
 5   2007, should be excluded in computing time within which trial
 6   must commence under the Speedy Trial Act, pursuant to Title 18
 7   U.S.C. § 3161(H)(8)(b)(iv) and Local Code T4.
 8   DATED:    September 11, 2007        Respectfully submitted,
 9                                         s/Kresta Daly_____________
                                         KRESTA DALY
10                                       Attorney for Defendant
                                         DELEISHA GILBERT
11

12
                                           s/Kresta Daly_____________
13   DATED:    September 11, 2007        WILLIAM WONG
                                         Assistant U.S. Attorney
14                                       Attorney for Plaintiff
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17                                    O R D E R
18         IT IS SO ORDERED.      Time is excluded in the interests of
19
     justice pursuant to 18 U.S.C. § 3161(H)(8)(B)(iv) and Local Code
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     T4.
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     DATED: September 17, 2007
22

23                                    __________________________________
                                      MORRISON C. ENGLAND, JR
24                                    UNITED STATES DISTRICT JUDGE
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